      Case 2:20-cr-00626-DWL Document 86 Filed 12/22/21 Page 1 of 1



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 6                      IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                        No. CR-20-00626-001-PHX-DWL
10                 Plaintiff,                         ORDER
11   v.
12   Brannen Sage Mehaffey,
13                 Defendant.
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           On December 7, 2021, Magistrate Judge Willett issued "Findings and
15
     Recommendation of the Magistrate Judge Upon a Plea of Guilty and Order." Magistrate
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     Judge Willett recommended that the District Judge accept the Defendant's plea of guilty,
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     subject to the Court's acceptance of the Plea Agreement. No objections have been filed
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     pursuant to 28 U.S.C. § 636(b)(1). The Court accepts the Recommendation of Magistrate
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     Judge Willett. Accordingly,
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           IT IS HEREBY ORDERED accepting the Defendant's plea of guilty.
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           IT IS FURTHER ORDERED that the plea agreement will not be accepted or
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     rejected at this time. The Court will inspect the presentence report for the purpose of
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     determining whether to accept or reject the plea agreement.
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           Dated this 22nd day of December, 2021.
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